Fill in this information to identify your case:

United States Bankruptcy Court for the:

NORTHERN DISTRICT OF CALIFORNIA

Case number (if known)                                                      Chapter       7
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           4/16
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and case number (if known).
For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                SQOR, Inc.

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  475 Sansome St.
                                  San Francisco, CA 94111
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  San Francisco                                                   Location of principal assets, if different from principal
                                  County                                                          place of business

                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)       www.sqor.com


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                      Partnership (excluding LLP)
                                      Other. Specify:




              Case: 17-30995               Doc# 1       Filed: 10/03/17            Entered: 10/03/17 16:45:17                   Page 1 of 89
Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 1
Debtor    SQOR, Inc.                                                                                   Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                          None of the above

                                       B. Check all that apply
                                          Tax-exempt entity (as described in 26 U.S.C. §501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                          Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                          See http://www.uscourts.gov/four-digit-national-association-naics-codes.
                                                 5416

8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
     debtor filing?                       Chapter 7
                                          Chapter 9
                                          Chapter 11. Check all that apply:
                                                                 Debtor's aggregate noncontingent liquidated debts (excluding debts owed to insiders or affiliates)
                                                                 are less than $2,566,050 (amount subject to adjustment on 4/01/19 and every 3 years after that).
                                                                 The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the debtor is a small
                                                                 business debtor, attach the most recent balance sheet, statement of operations, cash-flow
                                                                 statement, and federal income tax return or if all of these documents do not exist, follow the
                                                                 procedure in 11 U.S.C. § 1116(1)(B).
                                                                 A plan is being filed with this petition.
                                                                 Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                 accordance with 11 U.S.C. § 1126(b).
                                                                 The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                 Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                 attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                 (Official Form 201A) with this form.
                                                                 The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                          Chapter 12



9.   Were prior bankruptcy                No.
     cases filed by or against
     the debtor within the last 8         Yes.
     years?
     If more than 2 cases, attach a
     separate list.                               District                                When                                  Case number
                                                  District                                When                                  Case number


10. Are any bankruptcy cases              No
    pending or being filed by a
    business partner or an                Yes.
    affiliate of the debtor?
     List all cases. If more than 1,
     attach a separate list                       Debtor                                                                    Relationship
                                                  District                                When                              Case number, if known




              Case: 17-30995                Doc# 1           Filed: 10/03/17           Entered: 10/03/17 16:45:17                       Page 2 of 89
Official Form 201                               Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 2
Debtor   SQOR, Inc.                                                                                Case number (if known)
         Name



11. Why is the case filed in    Check all that apply:
    this district?
                                         Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                         preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                         A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or          No
    have possession of any
    real property or personal                Answer below for each property that needs immediate attention. Attach additional sheets if needed.
                                    Yes.
    property that needs
    immediate attention?                     Why does the property need immediate attention? (Check all that apply.)
                                                It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                               What is the hazard?
                                                It needs to be physically secured or protected from the weather.
                                                It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                               livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                Other
                                             Where is the property?
                                                                              Number, Street, City, State & ZIP Code
                                             Is the property insured?
                                                No
                                                Yes.    Insurance agency
                                                        Contact name
                                                        Phone



         Statistical and administrative information

13. Debtor's estimation of      .         Check one:
    available funds
                                             Funds will be available for distribution to unsecured creditors.

                                             After any administrative expenses are paid, no funds will be available to unsecured creditors.


14. Estimated number of             1-49                                             1,000-5,000                                 25,001-50,000
    creditors                       50-99                                            5001-10,000                                 50,001-100,000
                                    100-199                                          10,001-25,000                               More than100,000
                                    200-999


15. Estimated Assets                $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                    $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion


16. Estimated liabilities           $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                    $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion




             Case: 17-30995                Doc# 1        Filed: 10/03/17             Entered: 10/03/17 16:45:17                     Page 3 of 89
Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                   page 3
Debtor    SQOR, Inc.                                                                               Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is trued and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      October 3, 2017
                                                  MM / DD / YYYY


                             X   /s/ Brian Wilhite                                                        Brian Wilhite
                                 Signature of authorized representative of debtor                         Printed name

                                 Title   CEO




18. Signature of attorney    X   /s/ Stephen D. Finestone                                                  Date October 3, 2017
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 Stephen D. Finestone
                                 Printed name

                                 Finestone Hayes LLP
                                 Firm name

                                 456 Montgomery St., 20th Floor
                                 San Francisco, CA 94104
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     415 421-2624                  Email address      sfinestone@fhlawllp.com

                                 125675
                                 Bar number and State




              Case: 17-30995             Doc# 1         Filed: 10/03/17             Entered: 10/03/17 16:45:17                    Page 4 of 89
Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                    page 4
 Fill in this information to identify the case:

 Debtor name         SQOR, Inc.

 United States Bankruptcy Court for the:            NORTHERN DISTRICT OF CALIFORNIA

 Case number (if known)
                                                                                                                                  Check if this is an
                                                                                                                                  amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                         12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



                Declaration and signature


       I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
       individual serving as a representative of the debtor in this case.

       I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

                  Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
                  Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
                  Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
                  Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
                  Schedule H: Codebtors (Official Form 206H)
                  Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
                  Amended Schedule
                  Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
                  Other document that requires a declaration

       I declare under penalty of perjury that the foregoing is true and correct.

        Executed on          October 3, 2017                         X /s/ Brian Wilhite
                                                                       Signature of individual signing on behalf of debtor

                                                                       Brian Wilhite
                                                                       Printed name

                                                                       CEO
                                                                       Position or relationship to debtor




Official Form 202                                             Declaration Under Penalty of Perjury for Non-Individual Debtors
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            Case: 17-30995                    Doc# 1            Filed: 10/03/17             Entered: 10/03/17 16:45:17          Page 5 of 89
 Fill in this information to identify the case:

 Debtor name            SQOR, Inc.

 United States Bankruptcy Court for the:                       NORTHERN DISTRICT OF CALIFORNIA

 Case number (if known)
                                                                                                                                                                                       Check if this is an
                                                                                                                                                                                       amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                   12/15

 Part 1:      Summary of Assets


 1.    Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

       1a. Real property:
           Copy line 88 from Schedule A/B.............................................................................................................................                  $                    0.00

       1b. Total personal property:
           Copy line 91A from Schedule A/B.........................................................................................................................                     $              4,000.00

       1c. Total of all property:
           Copy line 92 from Schedule A/B...........................................................................................................................                    $              4,000.00


 Part 2:      Summary of Liabilities


 2.    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
       Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D....................................                                                  $       18,666,363.00


 3.    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

       3a. Total claim amounts of priority unsecured claims:
           Copy the total claims from Part 1 from line 5a of Schedule E/F..........................................................................                                     $            17,269.00

       3b. Total amount of claims of nonpriority amount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F................................................                                             +$        2,173,970.30


 4.    Total liabilities .......................................................................................................................................................
       Lines 2 + 3a + 3b                                                                                                                                                           $         20,857,602.30




 Official Form 206Sum                                              Summary of Assets and Liabilities for Non-Individuals                                                                                 page 1
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                                                                                          Best Case Bankruptcy
             Case: 17-30995                             Doc# 1                Filed: 10/03/17                         Entered: 10/03/17 16:45:17                                   Page 6 of 89
 Fill in this information to identify the case:

 Debtor name         SQOR, Inc.

 United States Bankruptcy Court for the:            NORTHERN DISTRICT OF CALIFORNIA

 Case number (if known)
                                                                                                                                       Check if this is an
                                                                                                                                       amended filing



Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                                      12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

 For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
 schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
 debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
 Part 1:      Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

        No. Go to Part 2.
         Yes Fill in the information below.
      All cash or cash equivalents owned or controlled by the debtor                                                                   Current value of
                                                                                                                                       debtor's interest

 3.        Checking, savings, money market, or financial brokerage accounts (Identify all)
           Name of institution (bank or brokerage firm)         Type of account                             Last 4 digits of account
                                                                                                            number
                    Chase Bank- account was recently
           3.1.     levied upon by a creditor                               Checking                                                                 $4,000.00



 4.        Other cash equivalents (Identify all)

 5.        Total of Part 1.                                                                                                                      $4,000.00
           Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.

 Part 2:          Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?

        No. Go to Part 3.
        Yes Fill in the information below.

 7.        Deposits, including security deposits and utility deposits
           Description, including name of holder of deposit

 8.        Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent
           Description, including name of holder of prepayment


           8.1.     Directors and Officers Insurance Policy - tail coverage in place                                                                 Unknown




 9.        Total of Part 2.                                                                                                                           $0.00
           Add lines 7 through 8. Copy the total to line 81.


Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                               page 1
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                                              Best Case Bankruptcy
            Case: 17-30995                    Doc# 1            Filed: 10/03/17      Entered: 10/03/17 16:45:17                  Page 7 of 89
 Debtor         SQOR, Inc.                                                                    Case number (If known)
                Name

 Part 3:        Accounts receivable
10. Does the debtor have any accounts receivable?

        No. Go to Part 4.
        Yes Fill in the information below.


 Part 4:        Investments
13. Does the debtor own any investments?

        No. Go to Part 5.
        Yes Fill in the information below.


 Part 5:        Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

        No. Go to Part 6.
        Yes Fill in the information below.


 Part 6:        Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

        No. Go to Part 7.
        Yes Fill in the information below.


 Part 7:        Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

        No. Go to Part 8.
        Yes Fill in the information below.


 Part 8:        Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

        No. Go to Part 9.
        Yes Fill in the information below.


 Part 9:        Real property
54. Does the debtor own or lease any real property?

        No. Go to Part 10.
        Yes Fill in the information below.


 Part 10:       Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

        No. Go to Part 11.
        Yes Fill in the information below.

            General description                                               Net book value of      Valuation method used     Current value of
                                                                              debtor's interest      for current value         debtor's interest
                                                                              (Where available)

 60.        Patents, copyrights, trademarks, and trade secrets

 61.        Internet domain names and websites

Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                  page 2
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                                    Best Case Bankruptcy
            Case: 17-30995                    Doc# 1            Filed: 10/03/17      Entered: 10/03/17 16:45:17              Page 8 of 89
 Debtor         SQOR, Inc.                                                                   Case number (If known)
                Name

            URLs, tradename and other intellectual
            property assets                                                                 $0.00                                       Unknown



 62.        Licenses, franchises, and royalties

 63.        Customer lists, mailing lists, or other compilations

 64.        Other intangibles, or intellectual property

 65.        Goodwill

 66.        Total of Part 10.                                                                                                              $0.00
            Add lines 60 through 65. Copy the total to line 89.

 67.        Do your lists or records include personally identifiable information of customers (as defined in 11 U.S.C.§§ 101(41A) and 107?
               No
               Yes

 68.        Is there an amortization or other similar schedule available for any of the property listed in Part 10?
               No
               Yes

 69.        Has any of the property listed in Part 10 been appraised by a professional within the last year?
               No
               Yes

 Part 11:       All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

        No. Go to Part 12.
        Yes Fill in the information below.

                                                                                                                           Current value of
                                                                                                                           debtor's interest


 71.        Notes receivable
            Description (include name of obligor)

 72.        Tax refunds and unused net operating losses (NOLs)
            Description (for example, federal, state, local)
            Estimated net operating losses of approximately
            $40,000,000 from 2013 onward                                                       Tax year                                 Unknown



 73.        Interests in insurance policies or annuities

 74.        Causes of action against third parties (whether or not a lawsuit
            has been filed)

 75.        Other contingent and unliquidated claims or causes of action of
            every nature, including counterclaims of the debtor and rights to
            set off claims

 76.        Trusts, equitable or future interests in property

 77.        Other property of any kind not already listed Examples: Season tickets,
            country club membership




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                               page 3
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                                 Best Case Bankruptcy
            Case: 17-30995                    Doc# 1            Filed: 10/03/17      Entered: 10/03/17 16:45:17        Page 9 of 89
 Debtor         SQOR, Inc.                                                                   Case number (If known)
                Name


 78.       Total of Part 11.                                                                                                          $0.00
           Add lines 71 through 77. Copy the total to line 90.

 79.       Has any of the property listed in Part 11 been appraised by a professional within the last year?
               No
               Yes




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                          page 4
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           Case: 17-30995                    Doc# 1            Filed: 10/03/17      Entered: 10/03/17 16:45:17        Page 10 of 89
 Debtor          SQOR, Inc.                                                                                          Case number (If known)
                 Name



 Part 12:        Summary

In Part 12 copy all of the totals from the earlier parts of the form
      Type of property                                                                               Current value of                    Current value of real
                                                                                                     personal property                   property

 80. Cash, cash equivalents, and financial assets.
     Copy line 5, Part 1                                                                                              $4,000.00

 81. Deposits and prepayments. Copy line 9, Part 2.                                                                          $0.00

 82. Accounts receivable. Copy line 12, Part 3.                                                                              $0.00

 83. Investments. Copy line 17, Part 4.                                                                                      $0.00

 84. Inventory. Copy line 23, Part 5.                                                                                        $0.00

 85. Farming and fishing-related assets. Copy line 33, Part 6.                                                               $0.00

 86. Office furniture, fixtures, and equipment; and collectibles.
     Copy line 43, Part 7.                                                                                                   $0.00

 87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                               $0.00

 88. Real property. Copy line 56, Part 9.........................................................................................>                                $0.00

 89. Intangibles and intellectual property. Copy line 66, Part 10.                                                           $0.00

 90. All other assets. Copy line 78, Part 11.                                                    +                           $0.00

 91. Total. Add lines 80 through 90 for each column                                                                $4,000.00         + 91b.                      $0.00


 92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                                    $4,000.00




Official Form 206A/B                                               Schedule A/B Assets - Real and Personal Property                                                          page 5
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                                                                 Best Case Bankruptcy
            Case: 17-30995                      Doc# 1              Filed: 10/03/17                   Entered: 10/03/17 16:45:17                       Page 11 of 89
 Fill in this information to identify the case:

 Debtor name          SQOR, Inc.

 United States Bankruptcy Court for the:            NORTHERN DISTRICT OF CALIFORNIA

 Case number (if known)
                                                                                                                                              Check if this is an
                                                                                                                                              amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                     12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?
          No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
          Yes. Fill in all of the information below.
 Part 1:      List Creditors Who Have Secured Claims
                                                                                                                    Column A                    Column B
 2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one secured
 claim, list the creditor separately for each claim.                                                                Amount of claim             Value of collateral
                                                                                                                                                that supports this
                                                                                                                    Do not deduct the value     claim
                                                                                                                    of collateral.
 2.1    Callais Capital                               Describe debtor's property that is subject to a lien             $18,666,363.00                   Unknown
        Creditor's Name                               appear to have blanket UCC; one UCC filed
                                                      8/2015 and one filed 5/2017
        401 Focus St.
        Thibodaux, LA 70301
        Creditor's mailing address                    Describe the lien
                                                      UCC-1
                                                      Is the creditor an insider or related party?
                                                         No
        Creditor's email address, if known                Yes
                                                      Is anyone else liable on this claim?
        Date debt was incurred                           No
        2015                                             Yes. Fill out Schedule H: Codebtors (Official Form 206H)
        Last 4 digits of account number

        Do multiple creditors have an                 As of the petition filing date, the claim is:
        interest in the same property?                Check all that apply
            No                                           Contingent
            Yes. Specify each creditor,                  Unliquidated
        including this creditor and its relative         Disputed
        priority.



                                                                                                                          $18,666,363.
 3.    Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional Page, if any.                  00

 Part 2:     List Others to Be Notified for a Debt Already Listed in Part 1
 List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection agencies,
 assignees of claims listed above, and attorneys for secured creditors.

 If no others need to notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.
         Name and address                                                                                      On which line in Part 1 did       Last 4 digits of
                                                                                                               you enter the related creditor?   account number for
                                                                                                                                                 this entity




Official Form 206D                                 Schedule D: Creditors Who Have Claims Secured by Property                                                 page 1 of 1
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                                                     Best Case Bankruptcy
           Case: 17-30995                     Doc# 1           Filed: 10/03/17               Entered: 10/03/17 16:45:17                 Page 12 of 89
 Fill in this information to identify the case:

 Debtor name         SQOR, Inc.

 United States Bankruptcy Court for the:            NORTHERN DISTRICT OF CALIFORNIA

 Case number (if known)
                                                                                                                                                Check if this is an
                                                                                                                                                amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                               12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

 Part 1:      List All Creditors with PRIORITY Unsecured Claims

       1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

             No. Go to Part 2.

             Yes. Go to line 2.

       2. List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than 3 creditors
          with priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                                                  Total claim           Priority amount

 2.1       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                              $0.00      $0.00
           Employment Development Dept.                              Check all that apply.
           Bankruptcy Unit - MIC 92E                                    Contingent
           P.O. Box 826880                                              Unliquidated
           Sacramento, CA 94280-0001                                    Disputed

           Date or dates debt was incurred                           Basis for the claim:
                                                                     notice only
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.2       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                              $0.00      $0.00
           Franchise Tax Board                                       Check all that apply.
           State of California                                          Contingent
           P.O. Box 2952                                                Unliquidated
           Sacramento, CA 95812-5000                                    Disputed

           Date or dates debt was incurred                           Basis for the claim:
                                                                     notice only
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes




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Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                   52896                               Best Case Bankruptcy
            Case: 17-30995                   Doc# 1            Filed: 10/03/17                   Entered: 10/03/17 16:45:17               Page 13 of 89
 Debtor       SQOR, Inc.                                                                                      Case number (if known)
              Name

 2.3       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                                         $0.00    $0.00
           Internal Revenue Service                                  Check all that apply.
           P.O. Box 7346                                                Contingent
           Philadelphia, PA 19101-7316                                  Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
                                                                     notice only
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.4       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                                  $17,269.00      $17,269.00
           San Francisco Tax Collector                               Check all that apply.
           P.O. Box 7427                                                Contingent
           San Francisco, CA 94120                                      Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
                                                                     Unsecured property tax
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.5       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                                         $0.00    $0.00
           State Board of Equalization                               Check all that apply.
           State of California                                          Contingent
           P.O. Box 942879                                              Unliquidated
           Sacramento, CA 94279-0029                                    Disputed

           Date or dates debt was incurred                           Basis for the claim:
                                                                     notice only
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes



 Part 2:      List All Creditors with NONPRIORITY Unsecured Claims
       3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
          out and attach the Additional Page of Part 2.
                                                                                                                                                      Amount of claim

 3.1       Nonpriority creditor's name and mailing address                         As of the petition filing date, the claim is: Check all that apply.                    $601.00
           Action Screen Printers, Inc.                                                Contingent
           13134 Highway 190                                                           Unliquidated
           Covington, LA 70433                                                         Disputed
           Date(s) debt was incurred
                                                                                   Basis for the claim:     Business debt
           Last 4 digits of account number
                                                                                   Is the claim subject to offset?     No       Yes

 3.2       Nonpriority creditor's name and mailing address                         As of the petition filing date, the claim is: Check all that apply.                $13,631.00
           Adriano de Souza                                                            Contingent
           3204 Avenido del Presidente #19                                             Unliquidated
           San Clemente, CA 92672                                                      Disputed
           Date(s) debt was incurred
                                                                                   Basis for the claim:     Business debt
           Last 4 digits of account number
                                                                                   Is the claim subject to offset?     No       Yes




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 Debtor       SQOR, Inc.                                                                              Case number (if known)
              Name

 3.3      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $66.00
          Aisling Daly
                                                                                Contingent
          24 Kilworth Rd., Drimnagh                                             Unliquidated
          Dublin 12                                                             Disputed
          IRELAND
                                                                             Basis for the claim:    Business debt
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.4      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $1,122.00
          Alan Jouban                                                           Contingent
          10937 Bloomfield St. #6                                               Unliquidated
          Studio City, CA 91602                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Business debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.5      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $162,991.00
          Amazon Web Services                                                   Contingent
          P.O. Box 84023                                                        Unliquidated
          Seattle, WA 98124                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Business debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.6      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          Andrew D. Castricone                                                  Contingent
          Gordon Rees et al.                                                    Unliquidated
          275 Battery St., Ste. 2000                                            Disputed
          San Francisco, CA 94111
                                                                             Basis for the claim:    Litigation counsel
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.7      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $60,000.00
          Applause, Inc.                                                        Contingent
          PO Box 347435                                                         Unliquidated
          Pittsburgh, PA 15251                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Business debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.8      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $11,500.00
          Ashlynn Harris                                                        Contingent
          10960 Wilshire Blvd Suite 2200                                        Unliquidated
          Los Angeles, CA 90024                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Business debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.9      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $147.00
          Avery Williamson                                                      Contingent
          377 Athens Way # 220                                                  Unliquidated
          Nashville, TN 37228                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Business debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       SQOR, Inc.                                                                              Case number (if known)
              Name

 3.10     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          Baker & McKenzie
                                                                                Contingent
          Bethmannstraße 50-54                                                  Unliquidated
          60311 Frankfurt                                                       Disputed
          GERMANY
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.11     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $154.00
          Barbara Honchak                                                       Contingent
          1505 State Ave.                                                       Unliquidated
          Hampton, IL 61256                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Business debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.12     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $4,486.00
          Barney & Barney                                                       Contingent
          Lockbox 740663                                                        Unliquidated
          Los Angeles, CA 90074                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Business debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.13     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $48,750.00
          Basho Technologies, Inc.                                              Contingent
          1500 District Ave                                                     Unliquidated
          Burlington, MA 01803                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Business debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.14     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          Bejamin G. Newman                                                     Contingent
          104 Chestnut Hill Road                                                Unliquidated
          Flora, MS 39071                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.15     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $11.00
          Booker Huffman                                                        Contingent
          1005 Clover Ridge Avenue                                              Unliquidated
          Friendswood, TX 77546                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Business debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.16     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $34,884.00
          BrandAmp, LLC                                                         Contingent
          3101 W Coast Hwy Suite 100                                            Unliquidated
          Newport Beach, CA 92663                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Business debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       SQOR, Inc.                                                                              Case number (if known)
              Name

 3.17     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          Brandon Abidin                                                        Contingent
          16939 Highland Club Ave                                               Unliquidated
          Baton Rouge, LA 70817                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number

                                                                             Is the claim subject to offset?     No       Yes

 3.18     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $204.00
          Brandon J. Williams                                                   Contingent
          c/o SportsTrust Advisors/Julia Lauria                                 Unliquidated
          3340 Peachtree Rd NE Suite 1600                                       Disputed
          Atlanta, GA 30326
                                                                             Basis for the claim:    Business debt
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.19     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          Brett Favre                                                           Contingent
          1 Willow Bend Dr.                                                     Unliquidated
          Hattiesburg, MS 39402                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.20     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          Brian May                                                             Contingent
          10606 Timberlake Ave.                                                 Unliquidated
          Baton Rouge, LA 70810                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.21     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          Brian May                                                             Contingent
          17525 Hazeltine Drive                                                 Unliquidated
          Baton Rouge, LA 70810                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.22     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          Brian Wilhite                                                         Contingent
          475 Sansome Street                                                    Unliquidated
          San Francisco, CA 94111                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.23     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $18,400.00
          Brightcove, Inc.                                                      Contingent
          PO Box 83318                                                          Unliquidated
          Woburn, MA 01813                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Business debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                                                         Best Case Bankruptcy
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 Debtor       SQOR, Inc.                                                                              Case number (if known)
              Name

 3.24     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $337.00
          Calais Campbell                                                       Contingent
          120 E. Rio Salado Parkway #104                                        Unliquidated
          Tempe, AZ 85281                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Business debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.25     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          Carastone                                                             Contingent
          Attn: Adam Vickers                                                    Unliquidated
          650 Poydras St., Ste. 1130                                            Disputed
          New Orleans, LA 70130
                                                                             Basis for the claim:    Notice only
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.26     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $886.00
          Carlos Condit                                                         Contingent
          10202 Karen NE                                                        Unliquidated
          Albuquerque, NM 87111                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Business debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.27     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          Casey Cuntz                                                           Contingent
          21216 W. Kelsey Creek Trail                                           Unliquidated
          Cypress, TX 77433                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    convertible noteholder
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.28     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $1,692.00
          Cat Osterman                                                          Contingent
          1202 Doral Ct                                                         Unliquidated
          San Antonio, TX 78260                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Business debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.29     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $5,306.00
          Cat Zingano                                                           Contingent
          341 East Alondra Blvd.                                                Unliquidated
          Gardena, CA 90248                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Business debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.30     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          Cetera Investments                                                    Contingent
          FBO Peter J. Bush                                                     Unliquidated
          400 First Street South, Suite 300                                     Disputed
          Saint Cloud, MN 56301
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




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 Debtor       SQOR, Inc.                                                                              Case number (if known)
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 3.31     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $60,000.00
          Chameleon Collective                                                  Contingent
          10012 NW 2nd Street                                                   Unliquidated
          Plantation, FL 33324                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Business debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.32     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          Charles Baker                                                         Contingent
          2800 JP Morgan Chase Tower                                            Unliquidated
          600 Travis                                                            Disputed
          Houston, TX 77002
                                                                             Basis for the claim:    convertible noteholder
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.33     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          Charles Haddad                                                        Contingent
          230 Rosewood Drive                                                    Unliquidated
          Metairie, LA 70005                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.34     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          Charles J. Duhe, Jr.                                                  Contingent
          8550 United Plaza Boulevard, Suite 101                                Unliquidated
          Baton Rouge, LA 70809                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.35     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $19,177.00
          Chase Bank                                                            Contingent
          401 California St.                                                    Unliquidated
          San Francisco, CA 94104                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Business debt
          Last 4 digits of account number       8324
                                                                             Is the claim subject to offset?     No       Yes

 3.36     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $8,000.00
          Chris Donnelly                                                        Contingent
          465 Throckmorton                                                      Unliquidated
          Mill Valley, CA 94941                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Business debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.37     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          Chris Miles                                                           Contingent
          694 Tatum Camp Rd.                                                    Unliquidated
          Purvis, MS 39475                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    convertible noteholder
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       SQOR, Inc.                                                                              Case number (if known)
              Name

 3.38     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          Chris Reddish                                                         Contingent
          6378 Oakleigh Way                                                     Unliquidated
          Mobile, AL 36693                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.39     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $10.00
          Chris Weidman                                                         Contingent
          17461 Derian Ave Suite 108                                            Unliquidated
          Irvine, CA 92614                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Business debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.40     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $110.00
          Christiane Justino                                                    Contingent
          2414 North Tustin Avenue #G9                                          Unliquidated
          Santa Ana, CA 92705                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Business debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.41     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          CIP Holding AG
                                                                                Contingent
          Oberanger 32                                                          Unliquidated
          Munich 80331                                                          Disputed
          GERMANY
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.42     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          CIP Services AG
                                                                                Contingent
          Oberanger 32                                                          Unliquidated
          D-80331 Munich                                                        Disputed
          GERMANY
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.43     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $2,939.00
          Clearside, Inc.                                                       Contingent
          PO Box 7806                                                           Unliquidated
          San Francisco, CA 94120                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Business debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.44     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $2,000.00
          Cockrell Group Accounting                                             Contingent
          271 17th St. NW                                                       Unliquidated
          Suite 530                                                             Disputed
          Atlanta, GA 30363
                                                                             Basis for the claim:    Accounting services
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




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 Debtor       SQOR, Inc.                                                                              Case number (if known)
              Name

 3.45     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $7,000.00
          Cohn & Wolfe                                                          Contingent
          PO Box 101890                                                         Unliquidated
          Atlanta, GA 30392                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Business debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.46     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $100.00
          Colin Ryan
                                                                                Contingent
          Carnakilla Newmarket on Fergus                                        Unliquidated
          County Clare                                                          Disputed
          IRELAND
                                                                             Basis for the claim:    Business debt
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.47     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $21,000.00
          Compas Global Technologies                                            Contingent
          1018 Fulton Street                                                    Unliquidated
          Palo Alto, CA 94301                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Business debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.48     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          Curtis Chastain                                                       Contingent
          6233 Overton Dr.                                                      Unliquidated
          Baton Rouge, LA 70808                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    convertible noteholder
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.49     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $1,149.00
          Dan Black                                                             Contingent
          1201 W 18th Street                                                    Unliquidated
          Antioch, CA 94509                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Business debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.50     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $7.00
          Dan Williams                                                          Contingent
          9777 Wilshire Blvd Suite 1018                                         Unliquidated
          Beverly Hills, CA 90202                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Business debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.51     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $292.00
          Daniel Jeremiah                                                       Contingent
          35069 Slater Ave.                                                     Unliquidated
          Winchester, CA 92596                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Business debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                                                         Best Case Bankruptcy
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 Debtor       SQOR, Inc.                                                                              Case number (if known)
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 3.52     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $1,407.00
          Danny Castillo                                                        Contingent
          2012 P Street                                                         Unliquidated
          Sacramento, CA 95811                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Business debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.53     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          Darryl May                                                            Contingent
          17807 Cascades Avenue                                                 Unliquidated
          Baton Rouge, LA 70810                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.54     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $7,000.00
          Databricks                                                            Contingent
          160 Spear Street Floor 13                                             Unliquidated
          San Francisco, CA 94105                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Business debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.55     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $12,670.00
          Datadog, Inc.                                                         Contingent
          620 8th Ave.                                                          Unliquidated
          Floor 45                                                              Disputed
          New York, NY 10018
                                                                             Basis for the claim:    Business debt
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.56     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          David Delucci                                                         Contingent
          8280 YMCA Plaza Dr # 5                                                Unliquidated
          Baton Rouge, LA 70810                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.57     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $3,000.00
          David Murnick                                                         Contingent
          237 Old Farm Lane                                                     Unliquidated
          Fairfield, CT 06825                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Business debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.58     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          Dean Hulett                                                           Contingent
          833 Osprey Cove                                                       Unliquidated
          Biloxi, MS 39532                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       SQOR, Inc.                                                                              Case number (if known)
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 3.59     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $92.00
          Delanie Walker                                                        Contingent
          6080 Center Drive 6th Floor                                           Unliquidated
          Los Angeles, CA 90045                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Business debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.60     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $5.00
          DeMarcus Lawrence                                                     Contingent
          P.O. Box 463                                                          Unliquidated
          O Fallon, IL 62269                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Business debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.61     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          Dennis Lowry                                                          Contingent
          112 King Ranch Drive                                                  Unliquidated
          Lafayette, LA 70508                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.62     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $712.00
          Devon Still                                                           Contingent
          10635 NW 69th Pl                                                      Unliquidated
          Parkland, FL 33076                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Business debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.63     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          Dimitrios Bachadakis                                                  Contingent
          Oberanger 32, 80331                                                   Unliquidated
          Munich                                                                Disputed
          GERMANY
                                                                             Basis for the claim:    Notice only
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.64     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $829.00
          Dont'a Hightower                                                      Contingent
          c/o SportsTrust Advisors/Julia Lauria                                 Unliquidated
          3340 Peachtree Rd NE Suite 1600                                       Disputed
          Atlanta, GA 30326
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.65     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          Dos Gris Exploration LLC                                              Contingent
          c/o Mike Worley                                                       Unliquidated
          303 Timber Creek                                                      Disputed
          Hammond, LA 70403
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




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 Debtor       SQOR, Inc.                                                                              Case number (if known)
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 3.66     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          Drew Gaudet                                                           Contingent
          18550 Amen Corner Ct.                                                 Unliquidated
          Baton Rouge, LA 70810                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.67     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $1.00
          Dwayne Harris                                                         Contingent
          1001 Lake Carolyn Parkway Apt. 214                                    Unliquidated
          Irving, TX 75039                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Business debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.68     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          Edward Koller, Jr.                                                    Contingent
          167 East 61st Street, Apt 10C                                         Unliquidated
          New York, NY 10065                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.69     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          Emaleigh White                                                        Contingent
          475 Sansome Street                                                    Unliquidated
          San Francisco, CA 94111                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.70     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $1,500.00
          Empower Gym                                                           Contingent
          747 Front St                                                          Unliquidated
          San Francisco, CA 94107                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Business debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.71     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          Eric James                                                            Contingent
          c/o P&H Properties LLC                                                Unliquidated
          140 Mayfair Rd., #800                                                 Disputed
          Hattiesburg, MS 39402
                                                                             Basis for the claim:    convertible noteholder
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.72     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $135,000.00
          Erlang Solutions
                                                                                Contingent
          101 Black Church Lane                                                 Unliquidated
          London E1 1 LU                                                        Disputed
          UNITED KINGDOM
                                                                             Basis for the claim:    Business debt
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




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 Debtor       SQOR, Inc.                                                                              Case number (if known)
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 3.73     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $19,500.00
          Filipe Toledo                                                         Contingent
          1618 Via Sage                                                         Unliquidated
          San Clemente, CA 92673                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Business debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.74     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $14,504.00
          First Insurance Funding Corp.                                         Contingent
          PO Box 7000                                                           Unliquidated
          Carol Stream, IL 60197                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Business debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.75     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $11,212.00
          Foley & Lardner                                                       Contingent
          321 North Clark Street #2800                                          Unliquidated
          Chicago, IL 60654                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Legal fees
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.76     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          Franklin J. Fleischhauer                                              Contingent
          4220 Montalvo Drive                                                   Unliquidated
          Pensacola, FL 32504                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.77     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          Franklin R. Johnson, Jr.                                              Contingent
          10154 Jefferson Hwy Suite 4                                           Unliquidated
          Baton Rouge, LA 70809                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.78     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $319.00
          Frostee Rucker                                                        Contingent
          4360 Brownsboro Road Suite 101                                        Unliquidated
          Louisville, KY 40207                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Business debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.79     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          Gary Noel                                                             Contingent
          17836 N. LA Hwy 82                                                    Unliquidated
          Abbeville, LA 70510                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    convertible noteholder
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       SQOR, Inc.                                                                              Case number (if known)
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 3.80     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $50.00
          Geno Atkins                                                           Contingent
          c/o SportsTrust Advisors/Julia Lauria                                 Unliquidated
          3340 Peachtree Rd NE Suite 1600                                       Disputed
          Atlanta, GA 30326
                                                                             Basis for the claim:    Business debt
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.81     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $65,710.00
          Gordon & Rees                                                         Contingent
          1111 Broadway, Ste. 1700                                              Unliquidated
          Oakland, CA 94607                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Legal fees
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.82     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $667.00
          Gordon D'Arcy
                                                                                Contingent
          Leinster Rugby Newstead, Bldg. A                                      Unliquidated
          Clonskeagh, Dublin                                                    Disputed
          IRELAND
                                                                             Basis for the claim:    Business Debt
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.83     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          Grant Young                                                           Contingent
          605 10th Ave                                                          Unliquidated
          San Francisco, CA 94118                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.84     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $2,250.00
          Greenhouse Software, Inc.                                             Contingent
          110 Fifth Avenue 3rd Floor                                            Unliquidated
          New York, NY 10011                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Business debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.85     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $785.00
          Greg Jennings                                                         Contingent
          4603 Annaway Drive                                                    Unliquidated
          Edina, MN 55436                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Business debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.86     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          Greg Jizmagian                                                        Contingent
          559 Placitas Ave                                                      Unliquidated
          Menlo Park, CA 94025                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.87     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $12,160.00
          Guillermo Rivera
                                                                                Contingent
          Lafinur 2974 2B                                                       Unliquidated
          Buenos Aires, CABA 1425                                               Disputed
          ARGENTINA
                                                                             Basis for the claim:    Business debt
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.88     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $2,921.00
          Gunnar Nelson                                                         Contingent
          c/o Paradigm MMA Mgmt                                                 Unliquidated
          17461 Derian Ave Ste 108                                              Disputed
          Irvine, CA 94974
                                                                             Basis for the claim:    Business debt
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.89     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $6,200.00
          Hanson Bridgett LLP                                                   Contingent
          425 Market St.                                                        Unliquidated
          26th Floor                                                            Disputed
          San Francisco, CA 94105
                                                                             Basis for the claim:    Legal fees
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.90     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $6,142.00
          HBK-Shawn Michaels                                                    Contingent
          3748 Catclaw Dr #262                                                  Unliquidated
          Abilene, TX 79606                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Business debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.91     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          Henry Benner                                                          Contingent
          55 Rainbow Circle                                                     Unliquidated
          Danville, CA 94506                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    convertible noteholder
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.92     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $5,495.00
          HireAthena                                                            Contingent
          171 2nd St., #3                                                       Unliquidated
          San Francisco, CA 94105                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    office services
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.93     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $5,495.00
          HireAthena                                                            Contingent
          5 Third St., Suite 900                                                Unliquidated
          San Francisco, CA 94103                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Business debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.94     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $1,521.00
          Jake Shields                                                          Contingent
          P.O. Box 2002                                                         Unliquidated
          Arnold, CA 95224                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Business debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.95     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $1,237.00
          Jake VanLandingham                                                    Contingent
          2570 Manassas Way                                                     Unliquidated
          Tallahassee, FL 32312                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Business debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.96     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          James F. Fruge                                                        Contingent
          8655 Jefferson Hwy, Unit 1                                            Unliquidated
          Baton Rouge, LA 70809                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.97     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $11.00
          James Moontasri                                                       Contingent
          1114 West 204th Street                                                Unliquidated
          Torrance, CA 90502                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Business debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.98     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          James Westermeyer                                                     Contingent
          120 Forest Hill Drive                                                 Unliquidated
          Clayton, CA 94517                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.99     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          Jerry Fenton                                                          Contingent
          119 W. Canebrake Blvd.                                                Unliquidated
          Hattiesburg, MS 39402                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    convertible noteholder
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.100    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $1,342.00
          Jessamyn Duke                                                         Contingent
          16800 Sierra Vista Way                                                Unliquidated
          Cerritos, CA 90703                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Business debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       SQOR, Inc.                                                                              Case number (if known)
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 3.101    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          Jim Calhoun                                                           Contingent
          PO Box 884                                                            Unliquidated
          Ross, CA 94957                                                        Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.102    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          Jimmie B. Hammack                                                     Contingent
          17143 N. Lakeway                                                      Unliquidated
          Baton Rouge, LA 70810                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.103    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          Jimmy Howard                                                          Contingent
          333 Millikens Bend                                                    Unliquidated
          Hattiesburg, MS 39402                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    convertible noteholder
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.104    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $5,000.00
          Joe Lauzon                                                            Contingent
          6529 Southpoint Drive                                                 Unliquidated
          Dallas, TX 75248                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Business debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.105    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $4,518.00
          Joel Bolomboy                                                         Contingent
          325 N LaSalle Street Suite 650                                        Unliquidated
          Chicago, IL 60654                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Business debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.106    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          John & Elisha Dudney                                                  Contingent
          10574 Shore Cove                                                      Unliquidated
          Biloxi, MS 39532                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.107    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          John Durham                                                           Contingent
          550 Montgomery St., #750                                              Unliquidated
          San Francisco, CA 94104                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    notice only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       SQOR, Inc.                                                                              Case number (if known)
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 3.108    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          John Durham                                                           Contingent
          2344 Golden Gate                                                      Unliquidated
          San Francisco, CA 94118                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.109    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          John E. Lord                                                          Contingent
          One LLP                                                               Unliquidated
          9301 Wilshire Blvd., PH                                               Disputed
          Beverly Hills, CA 90210
                                                                             Basis for the claim:    Notice only
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.110    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          John Held                                                             Contingent
          9595 Six Pines Drive, Suite 8210                                      Unliquidated
          The Woodlands, TX 77380                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.111    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $2,315.00
          Johnny Hendricks                                                      Contingent
          6529 Southpoint Dr.                                                   Unliquidated
          Dallas, TX 75248                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Business debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.112    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $2,800.00
          Jon Jones                                                             Contingent
          7340 SW 48th Street Suite 108B                                        Unliquidated
          Miami, FL 33155                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Business debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.113    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          Jon Jones                                                             Contingent
          7340 SW 48th Street Suite 108B                                        Unliquidated
          Miami, FL 33155                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.114    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $250.00
          JR Smith                                                              Contingent
          4 Molsbury Lane                                                       Unliquidated
          Millstone Township, NJ 08510                                          Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Business debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.115    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          JRAD Solutions, LLC                                                   Contingent
          c/o Ricky Simmons                                                     Unliquidated
          8280 YMCA Plaza Dr, Bldg 7                                            Disputed
          Baton Rouge, LA 70810
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.116    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          Julian Aldridge                                                       Contingent
          49 Mariner Green Dr.                                                  Unliquidated
          Corte Madera, CA 94925                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.117    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $4,228.00
          Julianna Pena                                                         Contingent
          206 E. St. Thomas More Way                                            Unliquidated
          Spokane, WA 99208                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Business debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.118    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $245.00
          Justine Kish                                                          Contingent
          1008 Middleton Ct                                                     Unliquidated
          Cramerton, NC 28032                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Business debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.119    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          Kathy Worley                                                          Contingent
          22784 Ligon Road                                                      Unliquidated
          Zachary, LA 70791                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.120    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $144.00
          Katie Chung Hua                                                       Contingent
          1735 N La Brea Ave #405                                               Unliquidated
          Los Angeles, CA 90046                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Business debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.121    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $2,851.00
          Keating Consulting Group                                              Contingent
          1735 N La Brea Ave #405                                               Unliquidated
          San Mateo, CA 94404                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Business debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.122    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $982.00
          Kenyan Drake                                                          Contingent
          c/o SportsTrust Advisors                                              Unliquidated
          3340 Peachtree Rd NE Suite 1600                                       Disputed
          Atlanta, GA 30326
                                                                             Basis for the claim:    Business debt
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.123    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          Kerry Teeple                                                          Contingent
          1475 Fortuna Ave.                                                     Unliquidated
          San Diego, CA 92109                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.124    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          Kim Miceli                                                            Contingent
          P.O. Box 55344                                                        Unliquidated
          Metairie, LA 70055                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.125    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $1,126.00
          Kirk Cousins                                                          Contingent
          932 Chelsea Court                                                     Unliquidated
          Holland, MI 49423                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Business debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.126    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $4.00
          Kochava, Inc.                                                         Contingent
          201 Church Street                                                     Unliquidated
          Sandpoint, ID 83864                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Business debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.127    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          Krohn & Co.                                                           Contingent
          Attn: Alan Watters                                                    Unliquidated
          655 Montgomery St.                                                    Disputed
          San Francisco, CA 94111
                                                                             Basis for the claim:    Notice only
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.128    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $843.00
          Kyle Wiltjer                                                          Contingent
          325 N. LaSalle St.                                                    Unliquidated
          Suite 650                                                             Disputed
          Chicago, IL 60654
                                                                             Basis for the claim:    Business debt
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




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 3.129    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $262.00
          Lance Briggs                                                          Contingent
          10635 NW 69 RD                                                        Unliquidated
          Parkland, FL 33076                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Business debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.130    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $46.00
          Le'Ron McClain                                                        Contingent
          PO Box 463                                                            Unliquidated
          O Fallon, IL 62269                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Business debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.131    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $64.00
          Leslie Smith                                                          Contingent
          836B Southampton #254                                                 Unliquidated
          Benicia, CA 94510                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Business debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.132    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $6,215.00
          Level 3 Communications                                                Contingent
          PO Box 910182                                                         Unliquidated
          Denver, CO 80291                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Business debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.133    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          Lindy Snider                                                          Contingent
          C/o Scott Sommermann                                                  Unliquidated
          P.O. Box 25088                                                        Disputed
          Philadelphia, PA 19147
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.134    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $64.00
          Liz Carmouche                                                         Contingent
          6008 Mission Gorge Rd Suite C                                         Unliquidated
          San Diego, CA 92120                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Business debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.135    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $7,500.00
          London Road LLC                                                       Contingent
          19 North Street                                                       Unliquidated
          Huntington Station, NY 11746                                          Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Business debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.136    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $20.00
          Marcus Brimage                                                        Contingent
          636 Siesta Key Circle, Apt 2916                                       Unliquidated
          Deerfield Beach, FL 33441                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Business debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.137    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          Marilee Headen                                                        Contingent
          101 Sycamore Valley Rd. West                                          Unliquidated
          Danville, CA 94526                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    convertible noteholder
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.138    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $18.00
          Marina Shafir                                                         Contingent
          4151 Hathaway Avenue, Unit 30                                         Unliquidated
          Long Beach, CA 90815                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Business debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.139    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          Mark Pak                                                              Contingent
          c/o Wire Industries, LLC                                              Unliquidated
          10 Bellamy Pl.                                                        Disputed
          Stockbridge, GA 30281
                                                                             Basis for the claim:    convertible noteholder
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.140    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          Martin M. Stott, Sr.                                                  Contingent
          10606 Timberlake Avenue                                               Unliquidated
          Baton Rouge, LA 70810                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.141    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          Martin Stott                                                          Contingent
          15035 Memorial Tower Drive                                            Unliquidated
          Baton Rouge, LA 70810                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.142    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $222.00
          Matt Barkley                                                          Contingent
          340 W. 32nd Street, # 403                                             Unliquidated
          Yuma, AZ 85364                                                        Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Business debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.143    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $78.00
          Matt Hasselbeck                                                       Contingent
          130 W. 73rd Street                                                    Unliquidated
          Indianapolis, IN 46260                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Business debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.144    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $3,500.00
          Megan Rapino                                                          Contingent
          10960 Wilshire Blvd, Suite 2200                                       Unliquidated
          Los Angeles, CA 90024                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Business debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.145    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $143,462.00
          MEPT Edgemoor REIT                                                    Contingent
          PO Box 101304                                                         Unliquidated
          Pasadena, CA 91189                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Business debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.146    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $60,287.00
          MH2 Sports                                                            Contingent
          4610 Elk Ridge Court Suite E                                          Unliquidated
          Flowery Branch, GA 30542                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Business debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.147    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          Michael C. Liou                                                       Contingent
          1116 Barroilhet Avenue                                                Unliquidated
          Hillsborough, CA 94010                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.148    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          Michael Worley                                                        Contingent
          4303 Chuck Yeager Dr.                                                 Unliquidated
          Baton Rouge, LA 70807                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    notice only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.149    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          Michael Worley                                                        Contingent
          303 Timber Creek                                                      Unliquidated
          Hammond, LA 70403                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.150    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          Mike Farley                                                           Contingent
          15011 Bridle Trace Lane                                               Unliquidated
          Pineville, NC 28134                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.151    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          Mike Wells                                                            Contingent
          889 Ellington Dr.                                                     Unliquidated
          Biloxi, MS 39532                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.152    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          Mike Worley                                                           Contingent
          W Resources LLC                                                       Unliquidated
          PO BOX 249                                                            Disputed
          Hammond, LA 70404
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.153    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $36,910.00
          MM                                                                    Contingent
          1759 Broadway                                                         Unliquidated
          Oakland, CA 94612                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Business debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.154    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $7,500.00
          Mobil Media Summit                                                    Contingent
          8306 Wilshire Blvd #395                                               Unliquidated
          Beverly Hills, CA 90211                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Business debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.155    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $575.00
          Namaste Pictures                                                      Contingent
          574 Kings Rd.                                                         Unliquidated
          Alameda, CA 94501                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Business debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.156    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $2,547.00
          Nate Diaz                                                             Contingent
          5251 Quashnick Rd.                                                    Unliquidated
          Stockton, CA 95212                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Business debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.157    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $10.00
          Nate Marquardt                                                        Contingent
          6431 Russell Way                                                      Unliquidated
          Arvada, CO 80007                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Business debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.158    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          Neil Scrimpshire                                                      Contingent
          9 Heritage Trail                                                      Unliquidated
          Laurel, MS 39440                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    convertible noteholder
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.159    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $5,000.00
          NetRatings LLC                                                        Contingent
          24150 Network Place                                                   Unliquidated
          Lockbox 24150                                                         Disputed
          Chicago, IL 60673
                                                                             Basis for the claim:    Business debt
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.160    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $1,250.00
          Nex Systems                                                           Contingent
          235 Frank West Circle                                                 Unliquidated
          Stockton, CA 95206                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Business debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.161    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $4,286.00
          Nick Diaz                                                             Contingent
          8745 E. Adahmer Lane                                                  Unliquidated
          Stockton, CA 95212                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Business debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.162    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          Nick Hatzis                                                           Contingent
          6317 Hope Estate Dr.                                                  Unliquidated
          Baton Rouge, LA 70802                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    convertible noteholder
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.163    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $3,000.00
          Operative Media                                                       Contingent
          Box 200663                                                            Unliquidated
          Pittsburgh, PA 15251                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Business debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       SQOR, Inc.                                                                              Case number (if known)
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 3.164    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $23,474.00
          Optimizely, Inc.                                                      Contingent
          Dept CH 19940                                                         Unliquidated
          Palatine, IL 60055                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Business debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.165    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          Orrick                                                                Contingent
          Attn: Greg Heibel                                                     Unliquidated
          1000 Marsh Rd.                                                        Disputed
          Menlo Park, CA 94025
                                                                             Basis for the claim:    Legal fees
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.166    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $377,320.00
          Orrick                                                                Contingent
          Dept. 34461                                                           Unliquidated
          P.O. Box 39000                                                        Disputed
          San Francisco, CA 94139
                                                                             Basis for the claim:    Legal fees
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.167    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          Ortho Investments, LLC                                                Contingent
          1367 Forest Creek Drive                                               Unliquidated
          Shreveport, LA 71115                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.168    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          Parcorp                                                               Contingent
          2140 S. Dupont HIghway                                                Unliquidated
          Camden, DE 19934                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice to agent for service
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.169    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          Pat Cuntz                                                             Contingent
          8627 Myrtlelake Dr                                                    Unliquidated
          Baton Rouge, LA 70810                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    convertible noteholder
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.170    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $5,950.00
          Patrick Peterson                                                      Contingent
          PO Box 473364                                                         Unliquidated
          Charlotte, NC 28247                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Business debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.171    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          Paul and Debbie Bertuccini                                            Contingent
          4924 Alexandra Drive                                                  Unliquidated
          Metairie, LA 70003                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.172    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          Paul Janish                                                           Contingent
          87 So. Shimmering Aspen Circle                                        Unliquidated
          The Woodlands, TX 77389                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    convertible noteholder
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.173    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          Paul Talbot                                                           Contingent
          15012 Copping Drive                                                   Unliquidated
          Baton Rouge, LA 70810                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.174    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $830.00
          Perry Ellis                                                           Contingent
          325 N LaSalle Street Suite 650                                        Unliquidated
          Chicago, IL 60654                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Business debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.175    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          Peter J. Bush                                                         Contingent
          2945 Dakin Avenue                                                     Unliquidated
          Baton Rouge, LA 70820                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.176    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          Peter Wright                                                          Contingent
          1615 Polydras St.                                                     Unliquidated
          New Orleans, LA 70112                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.177    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $788.00
          Phil Davis                                                            Contingent
          795 Third Ave.                                                        Unliquidated
          Chula Vista, CA 91910                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Business debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       SQOR, Inc.                                                                              Case number (if known)
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 3.178    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $2,015.00
          Phillip Heath                                                         Contingent
          c/o Stewart Cables                                                    Unliquidated
          1035 Pearl St. Suite 200                                              Disputed
          Boulder, CO 80302
                                                                             Basis for the claim:    Business debt
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.179    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $485.00
          Pierre Garcon                                                         Contingent
          330 W. Spring St.                                                     Unliquidated
          Suite 460                                                             Disputed
          Columbus, OH 43215
                                                                             Basis for the claim:    Business debt
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.180    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          Pontchartrain Capital LLC                                             Contingent
          729 Camp Street                                                       Unliquidated
          New Orleans, LA 70130                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.181    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $7,097.00
          Prudential Insurance                                                  Contingent
          PO Box 41594                                                          Unliquidated
          Philadelphia, PA 19176                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Business debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.182    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $9.00
          Rafael dos Anjos                                                      Contingent
          8 Sea Island Dr.                                                      Unliquidated
          Newport Beach, CA 92660                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Business debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.183    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $14,420.00
          Ray HIbbard                                                           Contingent
          16135 Ozark Ave.                                                      Unliquidated
          Tinley Park, IL 60477                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Business debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.184    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          Reid Hill                                                             Contingent
          6204 Mossy Oak Dr. East                                               Unliquidated
          Ocean Springs, MS 39564                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.185    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $10.00
          Rex Burkhead                                                          Contingent
          1701 Lake Side Lane                                                   Unliquidated
          Plano, TX 75023                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Business debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.186    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          Richard K. Pellerin                                                   Contingent
          4703 Bluebonnet Blvd                                                  Unliquidated
          Baton Rouge, LA 70809                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.187    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          Richard Pellerin                                                      Contingent
          4703 Bluebonnet Blvd.                                                 Unliquidated
          Baton Rouge, LA 70809                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    convertible noteholder
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.188    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          Roger Cutrer                                                          Contingent
          18550 Amen Corner Ct.                                                 Unliquidated
          Baton Rouge, LA 70810                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.189    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          Roy Ashcraft                                                          Contingent
          2431 Highway North                                                    Unliquidated
          Qulin, MO 63961                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    convertible noteholder
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.190    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          Russ Springer                                                         Contingent
          8280 YMCA Plaza Dr # 5,                                               Unliquidated
          Baton Rouge, LA 70810                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.191    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $1,221.00
          Ryan Benoit                                                           Contingent
          6529 Southpoint Dr.                                                   Unliquidated
          Dallas, TX 75248                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Business debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       SQOR, Inc.                                                                              Case number (if known)
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 3.192    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $6,770.00
          Salesforce                                                            Contingent
          P.O. Box 203141                                                       Unliquidated
          Dallas, TX 75320                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Business debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.193    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          Scott A. Lewis                                                        Contingent
          1701 Paloma Drive                                                     Unliquidated
          Newport Beach, CA 92660                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.194    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          Scott Wegman                                                          Contingent
          1330 Post Oak Blvd., #2700                                            Unliquidated
          Houston, TX 77056                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    convertible noteholder
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.195    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          Shawn and Justine Bookin                                              Contingent
          637 17th Street                                                       Unliquidated
          Manhattan Beach, CA 90266                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.196    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $135.00
          Shayna Bazsler                                                        Contingent
          4740 Warner Ave, #209                                                 Unliquidated
          Huntington Beach, CA 92649                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Business debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.197    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $24,734.00
          Shea Labagh Dobberstein                                               Contingent
          Attn: Adam Buttery                                                    Unliquidated
          505 Montgomery St., #500                                              Disputed
          San Francisco, CA 94111
                                                                             Basis for the claim:    accounting services
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.198    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          Socialbakers                                                          Contingent
          12 West 27th St., 12th Floor                                          Unliquidated
          New York, NY 10001                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.199    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $10,000.00
          St,. Fabian Catholic Church                                           Contingent
          5266 Old Highway 11                                                   Unliquidated
          Suite 70-214                                                          Disputed
          Hattiesburg, MS 39402
                                                                             Basis for the claim:    Business debt
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.200    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $332,500.00
          Stats LLC                                                             Contingent
          c/o Stein & Rothman                                                   Unliquidated
          77 West Washington St., Ste. 1105                                     Disputed
          Chicago, IL 60602-2801
                                                                             Basis for the claim:    Claim for license
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.201    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $180,000.00
          Stein & Rotman                                                        Contingent
          77 W. Washington St., #1105                                           Unliquidated
          Chicago, IL 60602                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Attorneys for Stats LLC
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.202    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          Stephen Williams                                                      Contingent
          300 Bothin Road                                                       Unliquidated
          Fairfax, CA 94930                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.203    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          Steve May                                                             Contingent
          17535 Hazeltine Drive                                                 Unliquidated
          Baton Rouge, LA 70810                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.204    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          Steve Queyrouze                                                       Contingent
          141 Robert E. Lee Blvd. #133                                          Unliquidated
          New Orleans, LA 70124                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.205    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $13,274.00
          Steve Smith, Sr.                                                      Contingent
          8504 Longview Club                                                    Unliquidated
          Waxhaw, NC 28173                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Business debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.206    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $7,414.00
          Steve Weatherford                                                     Contingent
          10635 NW 69th Pl                                                      Unliquidated
          Parkland, FL 33076                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Business debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.207    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $24,995.00
          Tapjoy, Inc.                                                          Contingent
          Dept. CH                                                              Unliquidated
          Palatine, IL 60055                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Business debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.208    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $13.30
          Tarec Saffiedine                                                      Contingent
          27569 Viridian St., Ste. 1                                            Unliquidated
          Murrieta, CA 92562                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Business debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.209    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $1,270.00
          Thiago Pereira                                                        Contingent
          1033 6th St., #205                                                    Unliquidated
          Santa Monica, CA 90403                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Business debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.210    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $404.00
          Tiffany Van Soest                                                     Contingent
          1751 Wollacott St.                                                    Unliquidated
          Redondo Beach, CA 90278                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Business debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.211    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          Todd Bougese                                                          Contingent
          19131 Point O' Woods Ct.                                              Unliquidated
          Baton Rouge, LA 70809                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    convertible noteholder
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.212    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $4,000.00
          Tom McDonald                                                          Contingent
          1108 Western Ave.                                                     Unliquidated
          Mill Valley, CA 94941                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Business debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.213    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $28.00
          Tony Ferguson                                                         Contingent
          17461 Derian Ave. Ste. 108                                            Unliquidated
          Irvine, CA 92614                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Business debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.214    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $8,524.00
          Trevor Bauer                                                          Contingent
          126 N. Valley Oaks Circle                                             Unliquidated
          Spring, TX 77382                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Business debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.215    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          Trifelleti Family Trust                                               Contingent
          1263 Crimson Court                                                    Unliquidated
          Walnut Creek, CA 94596                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.216    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $169.00
          Troy Daniels                                                          Contingent
          2553 Maycrest St. NW                                                  Unliquidated
          Roanoke, VA 24012                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Business debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.217    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $178.00
          Tyrone Crawford                                                       Contingent
          104 E. Prescott                                                       Unliquidated
          Chandler, AZ 85249                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Business debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.218    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $11,004.00
          Verizon Digital Media                                                 Contingent
          13031 W. Jefferson                                                    Unliquidated
          Bldg. 900                                                             Disputed
          Los Angeles, CA 90094
                                                                             Basis for the claim:    Business debt
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.219    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          Verizon Wireless                                                      Contingent
          PO Box 660108                                                         Unliquidated
          Dallas, TX 75266                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                 Page 33 of 35
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 Debtor       SQOR, Inc.                                                                              Case number (if known)
              Name

 3.220     Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                 Unknown
           W Resources LLC                                                      Contingent
           303 Timber Creek                                                     Unliquidated
           Hammond, LA 70403                                                    Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:
           Last 4 digits of account number
                                                                             Is the claim subject to offset?        No      Yes

 3.221     Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                 Unknown
           Whit Shaw                                                            Contingent
           120 West Morehead St #400                                            Unliquidated
           Charlotte, NC 28202                                                  Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:
           Last 4 digits of account number
                                                                             Is the claim subject to offset?        No      Yes

 3.222     Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                 Unknown
           Woodgate VFN Holdings                                                Contingent
           c/o Nathan Stedham                                                   Unliquidated
           9121 Elizabeth Rd., Ste. 106                                         Disputed
           Houston, TX 77055
                                                                             Basis for the claim:
           Date(s) debt was incurred
           Last 4 digits of account number                                   Is the claim subject to offset?        No      Yes


 3.223     Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                     $30.00
           Xavier Vigney                                                        Contingent
           1201 W. 18th St.                                                     Unliquidated
           Antioch, CA 94509                                                    Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:    Business debt
           Last 4 digits of account number
                                                                             Is the claim subject to offset?        No      Yes

 3.224     Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                     $98.00
           Yancey Medeiros                                                      Contingent
           85844 Fricke St.                                                     Unliquidated
           Waianae, HI 96792                                                    Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:    Business debt
           Last 4 digits of account number
                                                                             Is the claim subject to offset?        No      Yes



 Part 3:      List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.

   If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

           Name and mailing address                                                                   On which line in Part1 or Part 2 is the          Last 4 digits of
                                                                                                      related creditor (if any) listed?                account number, if
                                                                                                                                                       any
 4.1       Allen Maxwell & Silver
           P.O Box 540                                                                                Line     3.54
           Fair Lawn, NJ 07410
                                                                                                             Not listed. Explain


 Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                                          Total of claim amounts
 5a. Total claims from Part 1                                                                            5a.          $                     17,269.00
 5b. Total claims from Part 2                                                                            5b.    +     $                  2,173,970.30



Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                  Page 34 of 35
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 Debtor       SQOR, Inc.                                                                          Case number (if known)
              Name


 5c. Total of Parts 1 and 2
     Lines 5a + 5b = 5c.                                                                            5c.     $              2,191,239.30




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                Page 35 of 35
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 Fill in this information to identify the case:

 Debtor name         SQOR, Inc.

 United States Bankruptcy Court for the:            NORTHERN DISTRICT OF CALIFORNIA

 Case number (if known)
                                                                                                                                   Check if this is an
                                                                                                                                   amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                               12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.     Does the debtor have any executory contracts or unexpired leases?
          No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.
          Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal          Property
(Official Form 206A/B).

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

 2.1       State what the contract or
           lease is for and the nature
           of the debtor's interest

              State the term remaining

            List the contract number of
             any government contract


 2.2       State what the contract or
           lease is for and the nature
           of the debtor's interest

              State the term remaining

            List the contract number of
             any government contract


 2.3       State what the contract or
           lease is for and the nature
           of the debtor's interest

              State the term remaining

            List the contract number of
             any government contract


 2.4       State what the contract or
           lease is for and the nature
           of the debtor's interest

              State the term remaining

            List the contract number of
             any government contract




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                             Page 1 of 1
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 Fill in this information to identify the case:

 Debtor name         SQOR, Inc.

 United States Bankruptcy Court for the:            NORTHERN DISTRICT OF CALIFORNIA

 Case number (if known)
                                                                                                                                Check if this is an
                                                                                                                                amended filing


Official Form 206H
Schedule H: Your Codebtors                                                                                                                       12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

      1. Do you have any codebtors?

    No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
    Yes

   2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
      creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
      on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
            Column 1: Codebtor                                                                        Column 2: Creditor



             Name                              Mailing Address                                    Name                           Check all schedules
                                                                                                                                 that apply:
    2.1                                                                                                                             D
                                               Street                                                                               E/F
                                                                                                                                    G

                                               City                   State      Zip Code


    2.2                                                                                                                             D
                                               Street                                                                               E/F
                                                                                                                                    G

                                               City                   State      Zip Code


    2.3                                                                                                                             D
                                               Street                                                                               E/F
                                                                                                                                    G

                                               City                   State      Zip Code


    2.4                                                                                                                             D
                                               Street                                                                               E/F
                                                                                                                                    G

                                               City                   State      Zip Code




Official Form 206H                                                            Schedule H: Your Codebtors                                      Page 1 of 1
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 Fill in this information to identify the case:

 Debtor name         SQOR, Inc.

 United States Bankruptcy Court for the:            NORTHERN DISTRICT OF CALIFORNIA

 Case number (if known)
                                                                                                                                           Check if this is an
                                                                                                                                           amended filing



Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                                         04/16
The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor’s name and case number (if known).

 Part 1:      Income

1. Gross revenue from business

           None.

       Identify the beginning and ending dates of the debtor’s fiscal year,                    Sources of revenue                          Gross revenue
       which may be a calendar year                                                            Check all that apply                        (before deductions and
                                                                                                                                           exclusions)

       For prior year:                                                                             Operating a business                             $1,279,351.00
       From 1/01/2016 to 12/31/2016
                                                                                                   Other


       For year before that:                                                                       Operating a business                             $1,994,867.00
       From 1/01/2015 to 12/31/2015
                                                                                                   Other

2. Non-business revenue
   Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from lawsuits,
   and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

           None.

                                                                                               Description of sources of revenue           Gross revenue from
                                                                                                                                           each source
                                                                                                                                           (before deductions and
                                                                                                                                           exclusions)

 Part 2:      List Certain Transfers Made Before Filing for Bankruptcy

3. Certain payments or transfers to creditors within 90 days before filing this case
   List payments or transfers--including expense reimbursements--to any creditor, other than regular employee compensation, within 90 days before
   filing this case unless the aggregate value of all property transferred to that creditor is less than $6,425. (This amount may be adjusted on 4/01/19
   and every 3 years after that with respect to cases filed on or after the date of adjustment.)

           None.

       Creditor's Name and Address                                         Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                               Check all that apply




Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                     page 1
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 Debtor       SQOR, Inc.                                                                                Case number (if known)



4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
   List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or guaranteed
   or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than $6,425. (This amount
   may be adjusted on 4/01/19 and every 3 years after that with respect to cases filed on or after the date of adjustment.) Do not include any payments
   listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives; general partners of a partnership
   debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(31).

           None.

       Insider's name and address                                          Dates                 Total amount of value           Reasons for payment or transfer
       Relationship to debtor

5. Repossessions, foreclosures, and returns
   List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor, sold at
   a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.

           None

       Creditor's name and address                               Describe of the Property                                      Date                  Value of property


6. Setoffs
   List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account
   of the debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a
   debt.

           None

       Creditor's name and address                               Description of the action creditor took                       Date action was                 Amount
                                                                                                                               taken

 Part 3:      Legal Actions or Assignments

7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
   List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was involved
   in any capacity—within 1 year before filing this case.

           None.

               Case title                                        Nature of case             Court or agency's name and                Status of case
               Case number                                                                  address
       7.1.    Stats LLC v. SQOR, Inc.                           Breach of contract         Circuit Court of Cook                        Pending
               17 L 004734                                                                  County Illinois                              On appeal
                                                                                            50 W. Washington St
                                                                                                                                         Concluded
                                                                                            Chicago, IL 60602

       7.2.    American Soccer Company,                          Trademark                  Ninth Circuit Court of                       Pending
               Inc. v. Sqor, Inc.                                infringement case          Appeals                                      On appeal
               16-55051                                                                     95 Seventh St.
                                                                                                                                         Concluded
                                                                                            San Francisco, CA 94103


8. Assignments and receivership
   List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands of a
   receiver, custodian, or other court-appointed officer within 1 year before filing this case.

           None


 Part 4:      Certain Gifts and Charitable Contributions

9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value of
   the gifts to that recipient is less than $1,000

           None


Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                       page 2
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 Debtor        SQOR, Inc.                                                                                   Case number (if known)



               Recipient's name and address                      Description of the gifts or contributions                  Dates given                        Value


 Part 5:       Certain Losses

10. All losses from fire, theft, or other casualty within 1 year before filing this case.

           None

       Description of the property lost and                      Amount of payments received for the loss                   Dates of loss         Value of property
       how the loss occurred                                                                                                                                   lost
                                                                 If you have received payments to cover the loss, for
                                                                 example, from insurance, government compensation, or
                                                                 tort liability, list the total received.

                                                                 List unpaid claims on Official Form 106A/B (Schedule
                                                                 A/B: Assets – Real and Personal Property).

 Part 6:       Certain Payments or Transfers

11. Payments related to bankruptcy
    List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing
    of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy
    relief, or filing a bankruptcy case.

           None.

                Who was paid or who received                         If not money, describe any property transferred           Dates               Total amount or
                the transfer?                                                                                                                               value
                Address
       11.1.    Finestone Hayes LLP
                456 Montgomery St., 20th
                Floor                                                                                                          July 26,
                San Francisco, CA 94104                                                                                        2017                      $7,500.00

                Email or website address
                sfinestone@fhlawllp.com

                Who made the payment, if not debtor?




12. Self-settled trusts of which the debtor is a beneficiary
    List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case
    to a self-settled trust or similar device.
    Do not include transfers already listed on this statement.

           None.

       Name of trust or device                                       Describe any property transferred                   Dates transfers           Total amount or
                                                                                                                         were made                          value

13. Transfers not already listed on this statement
    List any transfers of money or other property by sale, trade, or any other means made by the debtor or a person acting on behalf of the debtor within
    2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs. Include
    both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.

           None.




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 Debtor       SQOR, Inc.                                                                                Case number (if known)



               Who received transfer?                            Description of property transferred or                  Date transfer             Total amount or
               Address                                           payments received or debts paid in exchange             was made                           value
       13.1                                                      Debtor sold of its equipment, furniture
       .                                                         and similar items over past six months.
                                                                 Funds were used to pay limited costs of
               Micellaneous parties                              operations - approximate sale proceeds =
                                                                 $10.000                                                                               $10,000.00

               Relationship to debtor




 Part 7:      Previous Locations

14. Previous addresses
    List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.


           Does not apply

                Address                                                                                                    Dates of occupancy
                                                                                                                           From-To

 Part 8:      Health Care Bankruptcies

15. Health Care bankruptcies
    Is the debtor primarily engaged in offering services and facilities for:
    - diagnosing or treating injury, deformity, or disease, or
    - providing any surgical, psychiatric, drug treatment, or obstetric care?

            No. Go to Part 9.
            Yes. Fill in the information below.


                Facility name and address                        Nature of the business operation, including type of services             If debtor provides meals
                                                                 the debtor provides                                                      and housing, number of
                                                                                                                                          patients in debtor’s care

 Part 9:      Personally Identifiable Information

16. Does the debtor collect and retain personally identifiable information of customers?

            No.
            Yes. State the nature of the information collected and retained.

17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other pension or
    profit-sharing plan made available by the debtor as an employee benefit?

            No. Go to Part 10.
            Yes. Does the debtor serve as plan administrator?


 Part 10:     Certain Financial Accounts, Safe Deposit Boxes, and Storage Units

18. Closed financial accounts
    Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold,
    moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage houses,
    cooperatives, associations, and other financial institutions.

           None
               Financial Institution name and                    Last 4 digits of         Type of account or          Date account was                Last balance
               Address                                           account number           instrument                  closed, sold,               before closing or
                                                                                                                      moved, or                            transfer
                                                                                                                      transferred

19. Safe deposit boxes
Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    page 4
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 Debtor      SQOR, Inc.                                                                                 Case number (if known)



    List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this
    case.


          None

       Depository institution name and address                       Names of anyone with                 Description of the contents          Do you still
                                                                     access to it                                                              have it?
                                                                     Address

20. Off-premises storage
    List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
    which the debtor does business.


          None

       Facility name and address                                     Names of anyone with                 Description of the contents          Do you still
                                                                     access to it                                                              have it?


 Part 11:     Property the Debtor Holds or Controls That the Debtor Does Not Own

21. Property held for another
    List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in trust. Do
    not list leased or rented property.

        None


 Part 12:     Details About Environment Information

For the purpose of Part 12, the following definitions apply:
     Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless of the
     medium affected (air, land, water, or any other medium).

      Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor formerly
      owned, operated, or utilized.

      Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a
      similarly harmful substance.

Report all notices, releases, and proceedings known, regardless of when they occurred.

22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

            No.
            Yes. Provide details below.

       Case title                                                    Court or agency name and             Nature of the case                   Status of case
       Case number                                                   address

23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
    environmental law?

            No.
            Yes. Provide details below.

       Site name and address                                         Governmental unit name and               Environmental law, if known      Date of notice
                                                                     address

24. Has the debtor notified any governmental unit of any release of hazardous material?

            No.
            Yes. Provide details below.



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 Debtor      SQOR, Inc.                                                                                 Case number (if known)



       Site name and address                                         Governmental unit name and               Environmental law, if known               Date of notice
                                                                     address

 Part 13:     Details About the Debtor's Business or Connections to Any Business

25. Other businesses in which the debtor has or has had an interest
    List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
    Include this information even if already listed in the Schedules.

          None

    Business name address                                     Describe the nature of the business              Employer Identification number
                                                                                                               Do not include Social Security number or ITIN.

                                                                                                               Dates business existed

26. Books, records, and financial statements
    26a. List all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.
             None

       Name and address                                                                                                                        Date of service
                                                                                                                                               From-To
       26a.1.       Krohn, Watters & Hicks, LLP
                    655 Montgomery St.
                    San Francisco, CA 94111

    26b. List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial statement
         within 2 years before filing this case.

              None

       Name and address                                                                                                                        Date of service
                                                                                                                                               From-To
       26b.1.       Shea Labagh Dobberstein
                    Attn: Adam Buttery
                    505 Montgomery St., #500
                    San Francisco, CA 94111

    26c. List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.

              None

       Name and address                                                                                      If any books of account and records are
                                                                                                             unavailable, explain why
       26c.1.       HireAthena
                    171 2nd St., #3
                    San Francisco, CA 94105

    26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial
         statement within 2 years before filing this case.

              None

       Name and address
       26d.1.       Callais Capital
                    401 Focus St.
                    Thibodaux, LA 70301

27. Inventories
    Have any inventories of the debtor’s property been taken within 2 years before filing this case?

            No
            Yes. Give the details about the two most recent inventories.

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               Name of the person who supervised the taking of the                          Date of inventory        The dollar amount and basis (cost, market,
               inventory                                                                                             or other basis) of each inventory

28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other people
    in control of the debtor at the time of the filing of this case.

       Name                                           Address                                             Position and nature of any            % of interest, if
                                                                                                          interest                              any
       Brian Wilhite                                  475 Sansome Street                                  CEO
                                                      San Francisco, CA 94111



29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in
    control of the debtor, or shareholders in control of the debtor who no longer hold these positions?


            No
            Yes. Identify below.

       Name                                           Address                                             Position and nature of any        Period during which
                                                                                                          interest                          position or interest
                                                                                                                                            was held
       Brett Favre                                    1 Willow Bend Dr.                                   member of the board               resigned in
                                                      Hattiesburg, MS 39402                                                                 approximately
                                                                                                                                            June 2017
       Name                                           Address                                             Position and nature of any        Period during which
                                                                                                          interest                          position or interest
                                                                                                                                            was held
       Brian May                                      10606 Timberlake Ave.                               member of the board               resigned in
                                                      Baton Rouge, LA 70810                                                                 approximately
                                                                                                                                            June 2017
       Name                                           Address                                             Position and nature of any        Period during which
                                                                                                          interest                          position or interest
                                                                                                                                            was held
       Mike Worley                                    W Resources LLC                                     member of the board               resigned in
                                                      PO BOX 249                                                                            approximately
                                                      Hammond, LA 70404                                                                     June 2017
       Name                                           Address                                             Position and nature of any        Period during which
                                                                                                          interest                          position or interest
                                                                                                                                            was held
       John Durham                                    550 Montgomery St., #750                            Member of the board               resigned in
                                                      San Francisco, CA 94104                                                               approximately
                                                                                                                                            June 2017
       Name                                           Address                                             Position and nature of any        Period during which
                                                                                                          interest                          position or interest
                                                                                                                                            was held
       Dimitrios Bachadakis                           Oberanger 32, 80331                                 member of the board               resigned in
                                                      Munich                                                                                approximately
                                                      GERMANY                                                                               June 2017

30. Payments, distributions, or withdrawals credited or given to insiders
    Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws, bonuses,
    loans, credits on loans, stock redemptions, and options exercised?

            No
            Yes. Identify below.




Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                  page 7
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                                                Best Case Bankruptcy
           Case: 17-30995                    Doc# 1            Filed: 10/03/17           Entered: 10/03/17 16:45:17                    Page 56 of 89
 Debtor      SQOR, Inc.                                                                                 Case number (if known)



               Name and address of recipient                     Amount of money or description and value of             Dates             Reason for
                                                                 property                                                                  providing the value
       30.1 Brian Wilhite
       .    475 Sansome Street                                                                                           paid over last
               San Francisco, CA 94111                           $200,000 (estimated)                                    12 months.        CEO services

               Relationship to debtor
               CEO


31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?

            No
            Yes. Identify below.

    Name of the parent corporation                                                                             Employer Identification number of the parent
                                                                                                               corporation

32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?

            No
            Yes. Identify below.

    Name of the parent corporation                                                                             Employer Identification number of the parent
                                                                                                               corporation

 Part 14:     Signature and Declaration

      WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
      connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both.
      18 U.S.C. §§ 152, 1341, 1519, and 3571.

      I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information is true
      and correct.

      I declare under penalty of perjury that the foregoing is true and correct.

 Executed on         October 3, 2017

 /s/ Brian Wilhite                                                      Brian Wilhite
 Signature of individual signing on behalf of the debtor                Printed name

 Position or relationship to debtor         CEO

Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?
   No
   Yes




Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                  page 8
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                                               UNITED STATES BANKRUPTCY COURT
                                               NORTHERN DISTRICT OF CALIFORNIA

 In re                                                                             Case No.
           SQOR, Inc.




                                                 Debtor(s).               /


                                                             CREDITOR MATRIX COVER SHEET


        I declare that the attached Creditor Mailing Matrix, consisting of 29 sheets, contains the correct,
complete and current names and addresses of all priority, secured and unsecured creditors listed in debtor's
filing and that this matrix conforms with the Clerk's promulgated requirements.

DATED: October               3, 2017



                                                                              /s/ Stephen D. Finestone
                                                                              Signature of Debtor's Attorney or Pro Per Debtor




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}
b
k
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C
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e
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i
t
o
A
s
M
a
x




     Action Screen Printers, Inc.
     13134 Highway 190
     Covington, LA 70433



     Adriano de Souza
     3204 Avenido del Presidente #19
     San Clemente, CA 92672



     Aisling Daly
     24 Kilworth Rd., Drimnagh
     Dublin 12
     IRELAND



     Alan Jouban
     10937 Bloomfield St. #6
     Studio City, CA 91602



     Allen Maxwell & Silver
     P.O Box 540
     Fair Lawn, NJ 07410



     Amazon Web Services
     P.O. Box 84023
     Seattle, WA 98124



     Andrew D. Castricone
     Gordon Rees et al.
     275 Battery St., Ste. 2000
     San Francisco, CA 94111



     Applause, Inc.
     PO Box 347435
     Pittsburgh, PA 15251




    Case: 17-30995   Doc# 1   Filed: 10/03/17   Entered: 10/03/17 16:45:17   Page 59 of 89
 Ashlynn Harris
 10960 Wilshire Blvd Suite 2200
 Los Angeles, CA 90024



 Avery Williamson
 377 Athens Way # 220
 Nashville, TN 37228



 Baker & McKenzie
 Bethmannstraße 50-54
 60311 Frankfurt
 GERMANY



 Barbara Honchak
 1505 State Ave.
 Hampton, IL 61256



 Barney & Barney
 Lockbox 740663
 Los Angeles, CA 90074



 Basho Technologies, Inc.
 1500 District Ave
 Burlington, MA 01803



 Bejamin G. Newman
 104 Chestnut Hill Road
 Flora, MS 39071



 Booker Huffman
 1005 Clover Ridge Avenue
 Friendswood, TX 77546




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 BrandAmp, LLC
 3101 W Coast Hwy Suite 100
 Newport Beach, CA 92663



 Brandon Abidin
 16939 Highland Club Ave
 Baton Rouge, LA 70817



 Brandon J. Williams
 c/o SportsTrust Advisors/Julia Lauria
 3340 Peachtree Rd NE Suite 1600
 Atlanta, GA 30326



 Brett Favre
 1 Willow Bend Dr.
 Hattiesburg, MS 39402



 Brian May
 10606 Timberlake Ave.
 Baton Rouge, LA 70810



 Brian May
 17525 Hazeltine Drive
 Baton Rouge, LA 70810



 Brian Wilhite
 475 Sansome Street
 San Francisco, CA 94111



 Brightcove, Inc.
 PO Box 83318
 Woburn, MA 01813




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 Calais Campbell
 120 E. Rio Salado Parkway #104
 Tempe, AZ 85281



 Callais Capital
 401 Focus St.
 Thibodaux, LA 70301



 Carastone
 Attn: Adam Vickers
 650 Poydras St., Ste. 1130
 New Orleans, LA 70130



 Carlos Condit
 10202 Karen NE
 Albuquerque, NM 87111



 Casey Cuntz
 21216 W. Kelsey Creek Trail
 Cypress, TX 77433



 Cat Osterman
 1202 Doral Ct
 San Antonio, TX 78260



 Cat Zingano
 341 East Alondra Blvd.
 Gardena, CA 90248



 Cetera Investments
 FBO Peter J. Bush
 400 First Street South, Suite 300
 Saint Cloud, MN 56301




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 Chameleon Collective
 10012 NW 2nd Street
 Plantation, FL 33324



 Charles Baker
 2800 JP Morgan Chase Tower
 600 Travis
 Houston, TX 77002



 Charles Haddad
 230 Rosewood Drive
 Metairie, LA 70005



 Charles J. Duhe, Jr.
 8550 United Plaza Boulevard, Suite 101
 Baton Rouge, LA 70809



 Chase Bank
 401 California St.
 San Francisco, CA 94104



 Chris Donnelly
 465 Throckmorton
 Mill Valley, CA 94941



 Chris Miles
 694 Tatum Camp Rd.
 Purvis, MS 39475



 Chris Reddish
 6378 Oakleigh Way
 Mobile, AL 36693




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 Chris Weidman
 17461 Derian Ave Suite 108
 Irvine, CA 92614



 Christiane Justino
 2414 North Tustin Avenue #G9
 Santa Ana, CA 92705



 CIP Holding AG
 Oberanger 32
 Munich 80331
 GERMANY



 CIP Services AG
 Oberanger 32
 D-80331 Munich
 GERMANY



 Clearside, Inc.
 PO Box 7806
 San Francisco, CA 94120



 Cockrell Group Accounting
 271 17th St. NW
 Suite 530
 Atlanta, GA 30363



 Cohn & Wolfe
 PO Box 101890
 Atlanta, GA 30392



 Colin Ryan
 Carnakilla Newmarket on Fergus
 County Clare
 IRELAND




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 Compas Global Technologies
 1018 Fulton Street
 Palo Alto, CA 94301



 Curtis Chastain
 6233 Overton Dr.
 Baton Rouge, LA 70808



 Dan Black
 1201 W 18th Street
 Antioch, CA 94509



 Dan Williams
 9777 Wilshire Blvd Suite 1018
 Beverly Hills, CA 90202



 Daniel Jeremiah
 35069 Slater Ave.
 Winchester, CA 92596



 Danny Castillo
 2012 P Street
 Sacramento, CA 95811



 Darryl May
 17807 Cascades Avenue
 Baton Rouge, LA 70810



 Databricks
 160 Spear Street Floor 13
 San Francisco, CA 94105




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 Datadog, Inc.
 620 8th Ave.
 Floor 45
 New York, NY 10018



 David Delucci
 8280 YMCA Plaza Dr # 5
 Baton Rouge, LA 70810



 David Murnick
 237 Old Farm Lane
 Fairfield, CT 06825



 Dean Hulett
 833 Osprey Cove
 Biloxi, MS 39532



 Delanie Walker
 6080 Center Drive 6th Floor
 Los Angeles, CA 90045



 DeMarcus Lawrence
 P.O. Box 463
 O Fallon, IL 62269



 Dennis Lowry
 112 King Ranch Drive
 Lafayette, LA 70508



 Devon Still
 10635 NW 69th Pl
 Parkland, FL 33076




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 Dimitrios Bachadakis
 Oberanger 32, 80331
 Munich
 GERMANY



 Dont'a Hightower
 c/o SportsTrust Advisors/Julia Lauria
 3340 Peachtree Rd NE Suite 1600
 Atlanta, GA 30326



 Dos Gris Exploration LLC
 c/o Mike Worley
 303 Timber Creek
 Hammond, LA 70403



 Drew Gaudet
 18550 Amen Corner Ct.
 Baton Rouge, LA 70810



 Dwayne Harris
 1001 Lake Carolyn Parkway Apt. 214
 Irving, TX 75039



 Edward Koller, Jr.
 167 East 61st Street, Apt 10C
 New York, NY 10065



 Emaleigh White
 475 Sansome Street
 San Francisco, CA 94111



 Employment Development Dept.
 Bankruptcy Unit - MIC 92E
 P.O. Box 826880
 Sacramento, CA 94280-0001




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 Empower Gym
 747 Front St
 San Francisco, CA 94107



 Eric James
 c/o P&H Properties LLC
 140 Mayfair Rd., #800
 Hattiesburg, MS 39402



 Erlang Solutions
 101 Black Church Lane
 London E1 1 LU
 UNITED KINGDOM



 Filipe Toledo
 1618 Via Sage
 San Clemente, CA 92673



 First Insurance Funding Corp.
  PO Box 7000
 Carol Stream, IL 60197



 Foley & Lardner
 321 North Clark Street #2800
 Chicago, IL 60654



 Franchise Tax Board
 State of California
 P.O. Box 2952
 Sacramento, CA 95812-5000



 Franklin J. Fleischhauer
 4220 Montalvo Drive
 Pensacola, FL 32504




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 Franklin R. Johnson, Jr.
 10154 Jefferson Hwy Suite 4
 Baton Rouge, LA 70809



 Frostee Rucker
 4360 Brownsboro Road Suite 101
 Louisville, KY 40207



 Gary Noel
 17836 N. LA Hwy 82
 Abbeville, LA 70510



 Geno Atkins
 c/o SportsTrust Advisors/Julia Lauria
 3340 Peachtree Rd NE Suite 1600
 Atlanta, GA 30326



 Gordon & Rees
 1111 Broadway, Ste. 1700
 Oakland, CA 94607



 Gordon D'Arcy
 Leinster Rugby Newstead, Bldg. A
 Clonskeagh, Dublin
 IRELAND



 Grant Young
 605 10th Ave
 San Francisco, CA 94118



 Greenhouse Software, Inc.
 110 Fifth Avenue 3rd Floor
 New York, NY 10011




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 Greg Jennings
 4603 Annaway Drive
 Edina, MN 55436



 Greg Jizmagian
 559 Placitas Ave
 Menlo Park, CA 94025



 Guillermo Rivera
 Lafinur 2974 2B
 Buenos Aires, CABA 1425
 ARGENTINA



 Gunnar Nelson
 c/o Paradigm MMA Mgmt
 17461 Derian Ave Ste 108
 Irvine, CA 94974



 Hanson Bridgett LLP
 425 Market St.
 26th Floor
 San Francisco, CA 94105



 HBK-Shawn Michaels
 3748 Catclaw Dr #262
 Abilene, TX 79606



 Henry Benner
 55 Rainbow Circle
 Danville, CA 94506



 HireAthena
 171 2nd St., #3
 San Francisco, CA 94105




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 HireAthena
 5 Third St., Suite 900
 San Francisco, CA 94103



 Internal Revenue Service
 P.O. Box 7346
 Philadelphia, PA 19101-7316



 Jake Shields
 P.O. Box 2002
 Arnold, CA 95224



 Jake VanLandingham
 2570 Manassas Way
 Tallahassee, FL 32312



 James F. Fruge
 8655 Jefferson Hwy, Unit 1
 Baton Rouge, LA 70809



 James Moontasri
 1114 West 204th Street
 Torrance, CA 90502



 James Westermeyer
 120 Forest Hill Drive
 Clayton, CA 94517



 Jerry Fenton
 119 W. Canebrake Blvd.
 Hattiesburg, MS 39402




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 Jessamyn Duke
 16800 Sierra Vista Way
 Cerritos, CA 90703



 Jim Calhoun
 PO Box 884
 Ross, CA 94957



 Jimmie B. Hammack
 17143 N. Lakeway
 Baton Rouge, LA 70810



 Jimmy Howard
 333 Millikens Bend
 Hattiesburg, MS 39402



 Joe Lauzon
 6529 Southpoint Drive
 Dallas, TX 75248



 Joel Bolomboy
 325 N LaSalle Street Suite 650
 Chicago, IL 60654



 John & Elisha Dudney
 10574 Shore Cove
 Biloxi, MS 39532



 John Durham
 550 Montgomery St., #750
 San Francisco, CA 94104




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 John Durham
 2344 Golden Gate
 San Francisco, CA 94118



 John E. Lord
 One LLP
 9301 Wilshire Blvd., PH
 Beverly Hills, CA 90210



 John Held
 9595 Six Pines Drive, Suite 8210
 The Woodlands, TX 77380



 Johnny Hendricks
 6529 Southpoint Dr.
 Dallas, TX 75248



 Jon Jones
 7340 SW 48th Street Suite 108B
 Miami, FL 33155



 JR Smith
 4 Molsbury Lane
 Millstone Township, NJ 08510



 JRAD Solutions, LLC
 c/o Ricky Simmons
 8280 YMCA Plaza Dr, Bldg 7
 Baton Rouge, LA 70810



 Julian Aldridge
 49 Mariner Green Dr.
 Corte Madera, CA 94925




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 Julianna Pena
 206 E. St. Thomas More Way
 Spokane, WA 99208



 Justine Kish
 1008 Middleton Ct
 Cramerton, NC 28032



 Kathy Worley
 22784 Ligon Road
 Zachary, LA 70791



 Katie Chung Hua
 1735 N La Brea Ave #405
 Los Angeles, CA 90046



 Keating Consulting Group
 1735 N La Brea Ave #405
 San Mateo, CA 94404



 Kenyan Drake
 c/o SportsTrust Advisors
 3340 Peachtree Rd NE Suite 1600
 Atlanta, GA 30326



 Kerry Teeple
 1475 Fortuna Ave.
 San Diego, CA 92109



 Kim Miceli
 P.O. Box 55344
 Metairie, LA 70055




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 Kirk Cousins
 932 Chelsea Court
 Holland, MI 49423



 Kochava, Inc.
 201 Church Street
 Sandpoint, ID 83864



 Krohn & Co.
 Attn: Alan Watters
 655 Montgomery St.
 San Francisco, CA 94111



 Kyle Wiltjer
 325 N. LaSalle St.
 Suite 650
 Chicago, IL 60654



 Lance Briggs
 10635 NW 69 RD
 Parkland, FL 33076



 Le'Ron McClain
 PO Box 463
 O Fallon, IL 62269



 Leslie Smith
 836B Southampton #254
 Benicia, CA 94510



 Level 3 Communications
 PO Box 910182
 Denver, CO 80291




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 Lindy Snider
 C/o Scott Sommermann
  P.O. Box 25088
 Philadelphia, PA 19147



 Liz Carmouche
 6008 Mission Gorge Rd Suite C
 San Diego, CA 92120



 London Road LLC
 19 North Street
 Huntington Station, NY 11746



 Marcus Brimage
 636 Siesta Key Circle, Apt 2916
 Deerfield Beach, FL 33441



 Marilee Headen
 101 Sycamore Valley Rd. West
 Danville, CA 94526



 Marina Shafir
 4151 Hathaway Avenue, Unit 30
 Long Beach, CA 90815



 Mark Pak
 c/o Wire Industries, LLC
 10 Bellamy Pl.
 Stockbridge, GA 30281



 Martin M. Stott, Sr.
 10606 Timberlake Avenue
 Baton Rouge, LA 70810




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 Martin Stott
 15035 Memorial Tower Drive
 Baton Rouge, LA 70810



 Matt Barkley
 340 W. 32nd Street, # 403
 Yuma, AZ 85364



 Matt Hasselbeck
 130 W. 73rd Street
 Indianapolis, IN 46260



 Megan Rapino
 10960 Wilshire Blvd, Suite 2200
 Los Angeles, CA 90024



 MEPT Edgemoor REIT
 PO Box 101304
 Pasadena, CA 91189



 MH2 Sports
 4610 Elk Ridge Court Suite E
 Flowery Branch, GA 30542



 Michael C. Liou
 1116 Barroilhet Avenue
 Hillsborough, CA 94010



 Michael Worley
 4303 Chuck Yeager Dr.
 Baton Rouge, LA 70807




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 Michael Worley
 303 Timber Creek
 Hammond, LA 70403



 Mike Farley
 15011 Bridle Trace Lane
 Pineville, NC 28134



 Mike Wells
 889 Ellington Dr.
 Biloxi, MS 39532



 Mike Worley
 W Resources LLC
 PO BOX 249
 Hammond, LA 70404



 MM
 1759 Broadway
 Oakland, CA 94612



 Mobil Media Summit
 8306 Wilshire Blvd #395
 Beverly Hills, CA 90211



 Namaste Pictures
 574 Kings Rd.
 Alameda, CA 94501



 Nate Diaz
 5251 Quashnick Rd.
 Stockton, CA 95212




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 Nate Marquardt
 6431 Russell Way
 Arvada, CO 80007



 Neil Scrimpshire
 9 Heritage Trail
 Laurel, MS 39440



 NetRatings LLC
 24150 Network Place
 Lockbox 24150
 Chicago, IL 60673



 Nex Systems
 235 Frank West Circle
 Stockton, CA 95206



 Nick Diaz
 8745 E. Adahmer Lane
 Stockton, CA 95212



 Nick Hatzis
 6317 Hope Estate Dr.
 Baton Rouge, LA 70802



 Operative Media
 Box 200663
 Pittsburgh, PA 15251



 Optimizely, Inc.
 Dept CH 19940
 Palatine, IL 60055




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 Orrick
 Attn: Greg Heibel
 1000 Marsh Rd.
 Menlo Park, CA 94025



 Orrick
 Dept. 34461
 P.O. Box 39000
 San Francisco, CA 94139



 Ortho Investments, LLC
 1367 Forest Creek Drive
 Shreveport, LA 71115



 Parcorp
 2140 S. Dupont HIghway
 Camden, DE 19934



 Pat Cuntz
 8627 Myrtlelake Dr
 Baton Rouge, LA 70810



 Patrick Peterson
 PO Box 473364
 Charlotte, NC 28247



 Paul and Debbie Bertuccini
 4924 Alexandra Drive
 Metairie, LA 70003



 Paul Janish
 87 So. Shimmering Aspen Circle
 The Woodlands, TX 77389




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 Paul Talbot
 15012 Copping Drive
 Baton Rouge, LA 70810



 Perry Ellis
 325 N LaSalle Street Suite 650
 Chicago, IL 60654



 Peter J. Bush
 2945 Dakin Avenue
 Baton Rouge, LA 70820



 Peter Wright
 1615 Polydras St.
 New Orleans, LA 70112



 Phil Davis
 795 Third Ave.
 Chula Vista, CA 91910



 Phillip Heath
 c/o Stewart Cables
 1035 Pearl St. Suite 200
 Boulder, CO 80302



 Pierre Garcon
 330 W. Spring St.
 Suite 460
 Columbus, OH 43215



 Pontchartrain Capital LLC
 729 Camp Street
 New Orleans, LA 70130




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 Prudential Insurance
 PO Box 41594
 Philadelphia, PA 19176



 Rafael dos Anjos
 8 Sea Island Dr.
 Newport Beach, CA 92660



 Ray HIbbard
 16135 Ozark Ave.
 Tinley Park, IL 60477



 Reid Hill
 6204 Mossy Oak Dr. East
 Ocean Springs, MS 39564



 Rex Burkhead
 1701 Lake Side Lane
 Plano, TX 75023



 Richard K. Pellerin
 4703 Bluebonnet Blvd
 Baton Rouge, LA 70809



 Richard Pellerin
 4703 Bluebonnet Blvd.
 Baton Rouge, LA 70809



 Roger Cutrer
 18550 Amen Corner Ct.
 Baton Rouge, LA 70810




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 Roy Ashcraft
 2431 Highway North
 Qulin, MO 63961



 Russ Springer
 8280 YMCA Plaza Dr # 5,
 Baton Rouge, LA 70810



 Ryan Benoit
 6529 Southpoint Dr.
 Dallas, TX 75248



 Salesforce
 P.O. Box 203141
 Dallas, TX 75320



 San Francisco Tax Collector
 P.O. Box 7427
 San Francisco, CA 94120



 Scott A. Lewis
 1701 Paloma Drive
 Newport Beach, CA 92660



 Scott Wegman
 1330 Post Oak Blvd., #2700
 Houston, TX 77056



 Shawn and Justine Bookin
 637 17th Street
 Manhattan Beach, CA 90266




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 Shayna Bazsler
 4740 Warner Ave, #209
 Huntington Beach, CA 92649



 Shea Labagh Dobberstein
 Attn: Adam Buttery
 505 Montgomery St., #500
 San Francisco, CA 94111



 Socialbakers
 12 West 27th St., 12th Floor
 New York, NY 10001



 St,. Fabian Catholic Church
 5266 Old Highway 11
 Suite 70-214
 Hattiesburg, MS 39402



 State Board of Equalization
 State of California
 P.O. Box 942879
 Sacramento, CA 94279-0029



 Stats LLC
 c/o Stein & Rothman
 77 West Washington St., Ste. 1105
 Chicago, IL 60602-2801



 Stein & Rotman
 77 W. Washington St., #1105
 Chicago, IL 60602



 Stephen Williams
 300 Bothin Road
 Fairfax, CA 94930




Case: 17-30995   Doc# 1   Filed: 10/03/17   Entered: 10/03/17 16:45:17   Page 84 of 89
 Steve May
 17535 Hazeltine Drive
 Baton Rouge, LA 70810



 Steve Queyrouze
 141 Robert E. Lee Blvd. #133
 New Orleans, LA 70124



 Steve Smith, Sr.
 8504 Longview Club
 Waxhaw, NC 28173



 Steve Weatherford
 10635 NW 69th Pl
 Parkland, FL 33076



 Tapjoy, Inc.
 Dept. CH
 Palatine, IL 60055



 Tarec Saffiedine
 27569 Viridian St., Ste. 1
 Murrieta, CA 92562



 Thiago Pereira
 1033 6th St., #205
 Santa Monica, CA 90403



 Tiffany Van Soest
 1751 Wollacott St.
 Redondo Beach, CA 90278




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 Todd Bougese
 19131 Point O' Woods Ct.
 Baton Rouge, LA 70809



 Tom McDonald
 1108 Western Ave.
 Mill Valley, CA 94941



 Tony Ferguson
 17461 Derian Ave. Ste. 108
 Irvine, CA 92614



 Trevor Bauer
 126 N. Valley Oaks Circle
 Spring, TX 77382



 Trifelleti Family Trust
 1263 Crimson Court
 Walnut Creek, CA 94596



 Troy Daniels
 2553 Maycrest St. NW
 Roanoke, VA 24012



 Tyrone Crawford
 104 E. Prescott
 Chandler, AZ 85249



 Verizon Digital Media
 13031 W. Jefferson
 Bldg. 900
 Los Angeles, CA 90094




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 Verizon Wireless
 PO Box 660108
 Dallas, TX 75266



 W Resources LLC
 303 Timber Creek
 Hammond, LA 70403



 Whit Shaw
 120 West Morehead St #400
 Charlotte, NC 28202



 Woodgate VFN Holdings
 c/o Nathan Stedham
 9121 Elizabeth Rd., Ste. 106
 Houston, TX 77055



 Xavier Vigney
 1201 W. 18th St.
 Antioch, CA 94509



 Yancey Medeiros
 85844 Fricke St.
 Waianae, HI 96792




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                                                               United States Bankruptcy Court
                                                                     Northern District of California
 In re      SQOR, Inc.                                                                                     Case No.
                                                                                   Debtor(s)               Chapter    7




                                           CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate possible disqualification or
recusal, the undersigned counsel for SQOR, Inc. in the above captioned action, certifies that the following is a (are)
corporation(s), other than the debtor or a governmental unit, that directly or indirectly own(s) 10% or more of any class of
the corporation's(s') equity interests, or states that there are no entities to report under FRBP 7007.1:



    None [Check if applicable]




 October 3, 2017                                                       /s/ Stephen D. Finestone
 Date                                                                  Stephen D. Finestone 125675
                                                                       Signature of Attorney or Litigant
                                                                       Counsel for SQOR, Inc.
                                                                       Finestone Hayes LLP
                                                                       456 Montgomery St., 20th Floor
                                                                       San Francisco, CA 94104
                                                                       415 421-2624 Fax:415 398-2820
                                                                       sfinestone@fhlawllp.com




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                                                               United States Bankruptcy Court
                                                                     Northern District of California
 In re      SQOR, Inc.                                                                                       Case No.
                                                                                   Debtor(s)                 Chapter    7

                                                   STATEMENT PURSUANT TO RULE 2016(B)
The undersigned, pursuant to Rule 2016(b), Bankruptcy Rules, states that:

1.          The undersigned is the attorney for the debtor(s) in this case.

2.          The compensation paid or agreed to be paid by the debtor(s), to the undersigned is:
             a)      For legal services rendered or to be rendered in contemplation of and in
                     connection with this case                                                                          $                  7,500.00
             b)      Prior to the filing of this statement, debtor(s) have paid                                         $                  7,500.00
             c)      The unpaid balance due and payable is                                                              $                      0.00

3.          $ 335.00           of the filing fee in this case has been paid.

4.          The Services rendered or to be rendered include the following:
            a.     Analysis of the financial situation, and rendering advice and assistance to the debtor(s) in determining
                   whether to file a petition under title 11 of the United States Code.
            b.     Preparation and filing of the petition, schedules, statement of affairs and other documents required by the
                   court.
            c.     Representation of the debtor(s) at the meeting of creditors.

5.          The source of payments made by the debtor(s) to the undersigned was from earnings, wages and compensation for
            services performed, and

6.          The source of payments to be made by the debtor(s) to the undersigned for the unpaid balance remaining, if any,
            will be from earnings, wages and compensation for services performed, and

7.          The undersigned has received no transfer, assignment or pledge of property from debtor(s) except the following
            for the value stated:

8.          The undersigned has not shared or agreed to share with any other entity, other than with members of
            undersigned's law firm, any compensation paid or to be paid except as follows:

 Dated: October 3, 2017                                                           Respectfully submitted,

                                                                                  /s/ Stephen D. Finestone
                                                                                  Attorney for Debtor: Stephen D. Finestone 125675
                                                                                  Finestone Hayes LLP
                                                                                  456 Montgomery St., 20th Floor
                                                                                  San Francisco, CA 94104
                                                                                  415 421-2624 Fax: 415 398-2820
                                                                                  sfinestone@fhlawllp.com




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